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              IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


ROSY GIRON DE REYES,et aL,
         Plaintiffs,

               V.                                             No. l:16-cv-563


WAPLES MOBILE HOME PARK
LIMITED PARTNERSHIP,et aL,
               Defendants.

                                             ORDER


       This matter came before the Court on September 23, 2020 for a telephonic hearing on

defendants' motion to clarify and/or reconsider the August 19, 2020 Order denying defendants'

motion for summary judgment. All parties appeared by counsel, and the matter was taken under

advisement following oral argument.

       During the September 23, 2020 telephonic hearing, plaintiffs' counsel sought a trial date

as well as extension ofthe deadlines for motions in limine and pretrial submissions. On September

24, 2020, United States Chief District Judge Mark S. Davis of the Eastern District of Virginia

entered General Order 2020-21, which ordered that courts in the Eastern District of Virginia may

resume only criminal jury trials. See General Order 2020-21 at 4. Accordingly, it is not yet

appropriate to set a trial date. It is nonetheless appropriate to the extend the deadlines for motions

in limine and pretrial submissions, as defendants' motion to clarify and/or reconsider has not been

resolved.

       Accordingly,

       It is hereby ORDERED that defendants' motion to clarify and/or reconsider(Dkt. 284)is

TAKEN UNDER ADVISEMENT.
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